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^             STATES DISTRICT COURT FOR THE
    NORTHERN DISTRICT OF CALIFORNIA
                                                               _X

    IN RE DMCA SUBPOENA TO
    RHDD.T,.NC                                 cv 19 SJOnoQIISMISC
                                                               -X
                                                                                                SK
                               ORDER GRANTING SUBPOENA


           This matter comes before the Court upon the ex parte application of movant

    Watch Tower Bible and Tract Society of Pennsylvania along with the Declaration of Paul

    D. Polidoro, Esq. and supporting documents for the signing of a Subpoena directing

    Reddit, Inc. to produce the identity of entities or persons believed to be infringing on the

    copyrights of Watch Tower Bible and Tract Society of Pennsylvania.

           Having considered the Declaration and all documents submitted in support of the

    instant application, the Court finds good reason to issue an order directing the clerk to

    issue said subpoena and it is therefore:

           ORDERED that the clerk of this Court shall issue the Subpoena for Reddit, Inc. as

    sought by the movant.




    DATED:
                                                          U.S. DISTRICT JUDGE
